                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON

In re                                               )             18-33765-dwh13
                                                        Case No. __________________
Leroy Verne Wimer aka Leroy V. Wimer                )
aka Leroy Wimer                                     )   NOTICE OF HEARING ON MOTION
                                                    )   FOR RELIEF FROM DEBTOR’S
                                                    )   AUTOMATIC STAY IN A CHAPTER
                                                    )   7/13 CASE, AND/OR CODEBTOR’S
Debtor(s)                                           )   STAY IN A CHAPTER 13 CASE

                                                 Leroy Verne Wimer
The attached Response, filed for the respondent, _____________________________________________________,          who is
the (debtor, trustee, etc.) debtor
                            _______________________________, is in response to the Motion for Relief from Stay filed on
behalf of (m oving party) PennyMac  Corp.
                          ______________________________________________________________________________.

The nam e and service address of the respondent's attorney (or respondent, if no attorney) are: ______________________
W. George Senft, 2411 SW 5th Ave., Portland, OR 97201
__________________________________________________________________________________________________.


(If debtor is respondent) The debtor’s address and Taxpayer ID#(s) (last 4 digits) are: ______________________________
19171 Clairmont Way, Oregon City, OR 97045, xxx-xx-8646
__________________________________________________________________________________________________.

NOTICE IS GIVEN THAT:

A Telephone Hearing on the Motion, at which no testim ony will be taken, will be held as follows:

     Date:                02/26/19
     Time:                1:30 pm

     Call In Number:      (888) 684-8852
     Access Code:         3702597

[Note: If you have problem s connecting, call the court at (503) 326-1500 or (541) 431-4000.]

                                          TELEPHONE HEARING REQUIREM ENTS

1.   You m ust call in and connect to the telephone hearing line or personally appear in the judge’s courtroom no later than your
     scheduled hearing tim e. The court will not call you.

2.   You m ay be asked to call again from another phone if your connection is weak or creates static or disruptive noise.

3.   Please m ute your phone when you are not speaking. If you do not have a m ute function on your phone, press *6 to m ute
     and *6 again to unm ute if you need to speak. Do not put the court on hold if it will result in m usic or other noise. If
     available, set the phone to "Do Not Disturb" so it will not ring during the hearing.

4.   W hen it is tim e for you to speak, take your phone off the “speaker” option or headset to m inim ize background noise and
     im prove sound quality. Position the telephone to m inim ize paper rustling. Do not use a keyboard or talk with others in the
     room . Be aware that telephone hearings m ay be am plified throughout the courtroom .

5.   Do not announce your presence until the court calls your case. Sim ply stay on the line, even if there is only silence, until
     the judge starts the hearings, and then continue to listen quietly until your case is called.

6.   W henever speaking, first identify yourself.

7.   Be on tim e. The judge m ay handle late calls the sam e as a late appearance in the courtroom .
                                                                          ____________________________________________
                                                                          /s/ W. George Senft,
                                                                          Signature

I certify that: (1) the response was prepared using a copy of the ORIGINAL Motion; (2) if the Response was electronically filed,
the response was prepared using the “FILLABLE” PDF version of the Motion unless the Motion was filed on paper and it could
                                                                             02/14/19 copies of this Notice and the Response
not be otherwise electronically obtained from the m ovant; and (3) that on __________
were served on the m oving party's attorney (or m oving party, if no attorney) at the address shown in the Notice of Motion.
                                                              _______________________________________________________
                                                               /s/ W. George Senft, Attorney for Respondent
721 (6/1/13)                                                  Signature & Relation to Respondent

                                  Case 18-33765-dwh13             Doc 30      Filed 02/14/19
                                        UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF OREGON

In re                                       ) Case No.       18-33765-dwh13
Leroy Verne Wimer aka Leroy V. Wimer )
aka Leroy Wimer
                                            ) (Check all applicable boxes)
                                            )     Ch. 7/13 Motion for Relief from
                                            )         Debtor     Chapter 13 Codebtor Stay
                                            )     Filed by Creditor:
                                            )      PennyMac Corp.
                                            )     Response to Stay Motion filed by Respondent:
Debtor(s)                                   )      Leroy Verne Wimer

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
        19171 Clarimont Way, Oregon City, OR 97045



    b. Amount of debt: $ 273,203.59            consisting of principal: $ 131,937.13 ; interest: $      74,764.89   ;
       other:
        Escrow advance $49,727.14; Total fees $106.50; Late Charges $90.24; Recoverable balance
        $16,577.69. Amounts due as of January 14, 2019. Amounts due not include fees and costs
        associated with this motion.
    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable
       information from debtor’s schedules if available on PACER:
         Citibank- Judgment Lien- $3,000.00       First Tech FCU- 2nd lien - $3,600.00
         Discover Bank - Judgment Lien - $8,700.00
         Dynamic Strategies, Inc.- Judgment Lien - $10,000.00
        Total debt secured by collateral (total 1.b. + 1.c.): $   298,503.59       .

    d. Value of collateral: $     400,000.00     .
       Equity in collateral: $     69,496.41      , after deducting $      32,000.00     liquidation costs.

    e. Current monthly payment: $          1,278.80      .

    f. If Chapter 13:

        (1) $ 3,836.40 postpetition default consisting of (e.g., $                       payments, $
            late charges, $        fees):
         Regular payments due November 1, 2018 through January 1, 2019 @ $1,278.80.

        (2) $    130,794.73      prepetition default consisting of       amounts specified in proof of claim, or,
                consisting of:


    g. If Chapter 7, total amount of default $                       .


720.80 (12/1/2018)                              Page 1 of 5
                                 Case 18-33765-dwh13          Doc 30
                                                                  28      Filed 02/14/19
                                                                                01/30/19
RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why
there is a postpetition default, if applicable) (to be completed by respondent):
 Debto rneeds to verify the exact amount of the post-petition default.




2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
        Lack of adequate protection because of failure to make sufficient adequate protection payments and
        lack of a sufficient equity cushion.
        Lack of insurance on collateral.
         No equity in the collateral and the property is not necessary for an effective reorganization.
         Failure of debtor to make Chapter 13 plan payments to the trustee.
         Failure of debtor to make direct payments to secured creditor required by Chapter 13 plan.
         Other (describe):
Failure to tender post-petition payments to Movant as required by § 1322 (b)(5).




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition
default, detail the cure by attaching a proposed order using Local Form (LBF) 720.90 available at
https://www.orb.uscourts.gov under Forms/Local Forms) (to be completed by respondent):
Relief from stay should be denied to roll over post-petition default into the plan.




3. Background (To be completed by creditor)

   a. Date petition filed: 10/30/2018 Current Chapter: 13 (7 or 13)
      If 13, current plan date 11/20/2018 Confirmed:            Yes No
      If 13, treatment of creditor’s prepetition claim(s) in plan:
    Debtors plan does not provide for treatment of movants pre-petition claim; Under an additional
    provision of the plan debtor is to request a loan modification within 6 months of the plan
    confirmation date or will sell or surrender the property.


      If 7, debtor    has       has not stated on Local Form (LBF) 521 or 521.05 that debtor intends to
      surrender the collateral.

   b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see paragraph 6
        below):
        Security agreement, trust deed or land sale contract dated 08/25/2004 , and, if applicable, an
        assignment of said interest to creditor. The security interest was perfected as required by applicable
        law on 08/30/2004 .


720.80 (12/1/2018)                          Page 2 of 5
                            Case 18-33765-dwh13           Doc 30
                                                              28   Filed 02/14/19
                                                                         01/30/19
         Retail installment contract dated               , and, if applicable, an assignment of said interest to
         creditor. The security interest was perfected on the certificate of title on                 .
         Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):
Any pre-petition default shall be part of a loan modification.




4. Request for Relief from Codebtor Stay (Chapter 13 only)
   a.                             , whose address is
                                 , is a codebtor on the obligation described above, but is not a debtor in this
      bankruptcy.

   b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):
           codebtor received the consideration for the claim held by creditor,          debtor’s plan does not
      propose to pay creditor’s claim in full,           creditor’s interest would be irreparably harmed by
      continuation of the codebtor stay as a result of the default(s) described above and/or      because:




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




720.80 (12/1/2018)                           Page 3 of 5
                            Case 18-33765-dwh13            Doc 30
                                                               28   Filed 02/14/19
                                                                          01/30/19
6. Relief Requested (check all applicable sections): (To be completed by creditor)

      Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified
      collateral, and, if necessary, to take appropriate action to obtain possession of the collateral.

      Creditor has a security interest in real property and requests relief from stay with respect to an act against
      such property and that the relief be binding in any other bankruptcy case purporting to affect such real
      property filed not later than 2 years after the date of the entry of an order granting this motion. (If you
      check this box, you must complete paragraph 5 above to support this request. If you do not do so, the
      Court will not grant relief binding in any other bankruptcy case.)

      Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following
      cause:




      Other (describe and explain cause):




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach
a proposed order using Local Bankruptcy Form (LBF) 720.90 available at https://www.orb.uscourts.gov under
Forms/Local Forms) (to be completed by respondent):
Relief from stay shall be denied. Any post-petition default shall be rolled over into the plan to allow
conclusion of the loan modification or sell the residence.




7. Documents:

   If creditor claims to be secured in paragraph 3.b. above creditor has attached to and filed with this
   motion a copy of the documents creating and perfecting the security interest, if not previously attached to
   a proof of claim.

   If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property,
   creditor has attached to and filed with this motion a postpetition payment history current to a date not more
   than 30 days before this motion is filed, showing for each payment the amount due, the date the payment
   was received, the amount of the payment, and how creditor applied the payment.

720.80 (12/1/2018)                           Page 4 of 5
                             Case 18-33765-dwh13           Doc 30
                                                               28    Filed 02/14/19
                                                                           01/30/19
RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are
pertinent to this response:
      Postpetition payment history if not required above.
      Documents establishing that creditor owns the debt described in paragraph 1 or is otherwise a proper
      party to bring this motion.
      Other document(s) (specific description):




Creditor/Attorney                                            Respondent Debtor/Attorney (by signing, the
                                                             respondent also certifies that [s]he has not altered
                                                             the information completed by creditor)

Signature: /s/ Nathan F. Smith                               Signature: /s/ W. George Senft
Name: Nathan F. Smith                                        Name: W. George Senft
Address: 2112 Business Center Drive, 2nd Floor               Address: 2411 SW 5th Ave., Portland, OR 97201
Irvine, CA 92612
Email Address: nathan@mclaw.org                              Email Address: senftlaw@gmail.com
Phone No: 949-252-9400                                       Phone No: 503-227-3819
OSB#:                  120112                                OSB#:                  081213


                                                             Respondent Codebtor/Attorney (by signing,
                                                             the respondent also certifies that [s]he has not
                                                             altered the information completed by creditor)

                                                             Signature:
                                                             Name:
                                                             Address:

                                                             Email Address:
                                                             Phone No:
                                                             OSB#:



You are hereby notified that the creditor is attempting to collect a debt and any information obtained will be
used for that purpose.


720.80 (12/1/2018)                           Page 5 of 5
                             Case 18-33765-dwh13           Doc 30
                                                               28   Filed 02/14/19
                                                                          01/30/19
